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February 22, 2018

Via ECF Only

Honorable Nancy Hershey Lord, USBJ
United States Bankruptcy Court
Eastern District of New York

Conrad B. Duberstein Courthouse
271~€ Cadman Plaza East ~ Suite 1595
Brooklyn, NY 11201~1800

Re: Bracha Cab Corp., et al.
Case No. 1*17~46613 (NHL) Jointly Administered

Dear Judge Hershey Lord:

This office represents potential creditor Jack Margossian in
the above-referenced matter. Enclosed please find a Stipulation
executed by the undersigned and debtor’s counsel regarding limited

relief from the automatic stay pursuant to Bankruptcy Code §362-a.

l Would respectfully request that Your Honor So Order the
Stipulation which is attached hereto.

Feel free to contact me if you have any questions.
Very truly yours,

//%M

GNM:de GERARD N. MISK
Enclosure

 

 

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This Bti§uiatien and order granting limited relief from`the
automatic stay as:it applies to JacK.Margossian (“the Stipulation”)
is made by and between Rosenberg Musso & Weiner as attorneys for
the Estate of Jackhel Cab Corp. {“Debtor”) and Jack Margossian,
acting by and through their undersigned counsel (the “Parties”}.

TALS .

IA. On Uecemher 11, 2017 (petiticn date), a Petition for
leave under Chapter 11 of Title 11 of the United States Code {the
Bankruptcy Code) was filed by Behtor dackhel Cab Corp.:

B. fm Januaz:y 19, 2018, the Bankruptcy' Court entered an
Grder consolidating debtor's case with fourteen related other
entities and providing for joint administration under the above
caption; v

C. Unaware of the filing of the Petitic>'n on December ll,
2£)17, an action was commenced by Jac:k Marqo$$ian on January 10,
2018 in Supreme Court of the State of New York, County of Queens
against Debtor Jackhel Cab Corp. in connection with a car accident

which occurred on November 9, 201?. Said action was assigned Index

 

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§e$tate §r §therwxse available to the creditor body. §po§

§lnfoz&atk§n and belief to date no trustee has been appointed

though a metion for, inter alia, the appointment of a Chapt§r 11

Trustee is pending before this Court.

CGNBITIQN

l. The automatic stay is hereby medified to permit Jack
Margoasian to continue the prosecution of the Action nunc pro tunc
including the enforcement of any judgment or settlement, but only
to the extent of the limits of existing insurance coverage that may

be applicable to the Action, grgvided, however, that any settlement

 

of the Action, or judgment rendered in the Aetion, may not exceed
the applicable limits for any such insurance coverage, and Q;Qg;ggg
§§g£g§; that the Truste§, should one be appointed, shall hav§ no
obligation to take part in, spend time on or expend any assets of
Debtor'a estate in connection with any aspect of the 'Action
includinq, without limitation, appearing as a witness in any
conference, hearing or examination or responding to discovery
requests. `

2. Jack Margossian hereby waives and releases any and all

claims Jack Margossian may hawes (a) against the Debtor’s estate,

 

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"re‘t&~ntion. ;: .
ne 3. Nothing contained in this Stipulation is intended to be
or Shouid be constxued as an admiasion of liability by the D§btor
and/or any of ita re$pective employees named in the Action (the
“Covered Employeea"} with xespect to the allegations related to any
of the claims asserted therein who may be entitled to coverage
under any applicable insurance policies, and all the rights, claims
and defenses of any Covered Employeea with re$pect to the Action
are hereby expressly resexved.

4. Nothing in this Stipulation is intended to, or does,
modify or alter the contractual rights and obligations provided for
under the terms and provi$ions of any relevant insurance
policy (:'Les) .

5. Neither this Stipulation nor any actions taken pursuant
hereto shall constitute evidence admissible against the Parties in
any action ether than one to enforce the terms of this Stipulation.

6. This Stipulation shall be binding upon and inure to the
benefit of the Parties and their respéctive heirs, successoré and
assigna, executors, administratofs and legal representatives.

7. This Stipulation may only be amended or otherwise

 

 

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v 9. TH§§ §ti§§¥a;i§n Constitutes the entire agreement'and
understanding between the Partiea with r@$;>@<:t to its subject
matter and supersedes ali previous or contemporaneous oral or
written representations, understandings or agreements with respect
thereto. y

10. ’I’h;£s Stipulation may be exécuted in counterparts and each
such counterpart together with the others shall constitute one and
the same instrument and it shall constitute sufficient proof of
this Stipulation to present any`copy, copies or facsimiles sighed
by the Party to be charged.

11. '£‘he Bankruptcy Court may retain jurisdiction to xesc)lve
and disputes or controversies arising from or related to this
Stipulation.

12. This Stipulation shall be governed by the lawa of the

State of New York and to the extent applicable, the Bankruptcy C<:=cie

 

without regard to the Sta'te cf New Yc)rk’s rules governing the
conflicts of laws.

13. Thia Stipulati.cn shall not be effective until it is 30

 

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Nan§y Hershszy Lord
United States Bankruptc:y Judqe

 

 

